     Case 1:23-cv-05072-MLB   Document 46-3     Filed 01/09/25   Page 1 of 42




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DAVID C. WARTH,

     Plaintiff,                            CIVIL ACTION FILE NO.
                                           1:23-cv-05072-MLB
v.

THOMAS WILLIAMSON,

 Defendant.



     DEFENDANT’S INDEX OF EXHIBITS TO BREIF IN SUPPORT OF
          MOTION FOR SUMMARY JUDGMENT – PART II
1.    Ex. C – Brian Warth Deposition Excerpts

2.    Ex. E – Brittney Dewey Deposition Excerpts
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 2 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 3 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 4 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 5 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 6 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 7 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 8 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 9 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 10 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 11 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 12 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 13 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 14 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 15 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 16 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 17 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 18 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 19 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 20 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 21 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 22 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 23 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 24 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 25 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 26 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 27 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 28 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 29 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 30 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 31 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 32 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 33 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 34 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 35 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 36 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 37 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 38 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 39 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 40 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 41 of 42
Case 1:23-cv-05072-MLB   Document 46-3   Filed 01/09/25   Page 42 of 42
